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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

CHARLENE BORIA,

       Plaintiff,

v.                                                                Case No: 8:21-cv-1640-WFJ-CPT

COMMONWEALTH FINANCIAL SYSTEMS,
INC.,

      Defendant.
___________________________________

                         CASE MANAGEMENT AND SCHEDULING ORDER

          This cause came on for consideration concerning completion of discovery and the scheduling of
 pretrial procedures and trial. The Court has considered the positions of the parties as set forth in their Case
 Management Report, and hereby enters the following scheduling and case management requirements
 whose provisions are very precise and shall be strictly adhered to. Accordingly, it is ORDERED:

        1.   Parties are directed to meet the deadlines below:

             Mandatory Initial Disclosures                     August 20, 2021
             Third Party Joinder/Amend Pleading                September 20, 2021
             Plaintiff Expert Disclosure                       September 20, 2021
             Defendant Expert Disclosure                       October 29, 2021
             Rebuttal Expert Disclosure                        November 29, 2021
             Discovery Cut-Off                                 June 30, 2022
             Mediator Selection/Scheduling due by              July 29, 2022
             Conduct Mediation by                              August 30, 2022
             Dispositive Motion filing                         August 30, 2022
             Pretrial Statement due                            February 2, 2023

        2.   Parties are further directed to meet the pretrial disclosure requirements and deadlines in
             Fed.R.Civ.P. 26(a)(3) and to adhere timely to all requirements in Local Rule 3.06 concerning
             Final Pretrial Procedures, as supplemented herein at ¶ 5. Parties are advised to review the
             amendments to the Rules of Civil Procedure regarding discovery, which became
             effective December 1, 2015.

        3.   This case is referred to court-annexed mediation in accordance with the rules governing
             mediation set forth in Chapter Four of the Local Rules. The parties shall select a Mediator and
             counsel for Plaintiff is designated as Lead Counsel to coordinate the scheduling of mediation.
             The list of certified mediators is available in the Clerk’s Office or on the internet at
             www.flmd.uscourts.gov under “For Lawyers/Mediation and Settlement/Certified Mediators
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      PDF).” The list is not exclusive, and any certified mediator is permissible. Lead counsel must
      file a Notice of Mediator Selection and Scheduling of Mediation which (a) identifies the
      selected Mediator and includes address, telephone, and facsimile information, and (b) sets for
      the time, date, and place for the mediation conference by the above-designated date. If the
      parties fail to select a Mediator or do not notify the Court of such selection by the above-
      designated date, the Court will sua sponte and without further notice select an individual to
      serve as Mediator and issue the appointment. The mediation conference may be conducted
      any time on or before the above-designated date.

 4.   Parties will please note that motions to amend any pleading or a motion for continuance of
      any pretrial conference, hearing or trial filed after issuance of this Case Management and
      Scheduling Order are disfavored. See Local Rules 3.05(c)(2)(E) and 3.05(c)(3)(D).

 5.   A Pretrial Conference will be held before the undersigned in Courtroom 15B, 801 North
      Florida Avenue, Tampa, Florida, on February 9, 2023, 9:00 AM. Parties are directed to
      meet the pretrial disclosure requirements and deadlines in Fed. R. Civ. P. 26(a)(3) and to
      adhere to all requirements in Local Rule 3.06 concerning final pretrial procedures. The parties
      shall file a JOINT Pretrial Statement on the date listed in paragraph 1. Failure to do so may
      result in the imposition of sanctions. The Pretrial Conference shall be attended by counsel
      who will act as lead trial counsel in the case and who is vested with full authority to make
      and solicit disclosure and agreements touching all matters pertaining to the trial.

 6.   This case is set for Jury Trial during the term commencing March 6, 2023, before the
      undersigned. This March trial term shall include the entire month. Estimated length of trial:
      2 days.

 7.   SUMMARY JUDGMENT PROCEDURES: The following procedures shall be followed
      by the parties:

        (a)     A party’s claims or defenses for which summary judgment is sought shall be
                presented in a single motion and incorporated memorandum of law which, absent
                prior permission of the Court, shall not exceed twenty-five (25) pages total.
                Multiple motions for summary judgment will not be permitted. A violation of any
                of these directives will result in the Court sua sponte striking a party’s motion for
                summary judgment and incorporated memorandum of law without notice. Any
                record citations should be to page and line of the filed materials.

        (b)     Prior to filing a motion for summary judgment, the moving party shall confer in
                good faith with the party or parties against who summary judgment is sought for
                the purpose of narrowing the factual issues in dispute. A party by separate pleading
                filed contemporaneously with the motion for summary judgment and incorporated
                memorandum of law shall certify that such a conference has taken place and that
                the parties were or were not able to agree on a narrowing of the factual issues in
                dispute. Unless the parties are in full agreement as to the undisputed facts, the
                movant shall file a separate "Statement of Undisputed Facts"(not exceeding 20
                pages in length), with citations to the record, which shall accompany the motion for
                summary judgment.
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         (c)    Any party opposing a summary judgment motion shall file a memorandum of law
                in opposition no later than the time allotted pursuant to Local Rule 3.01(b). To the
                extent that the party opposing a motion for summary judgment disputes any facts
                asserted in the motion, a separate "Statement of Disputed Facts"(not exceeding
                20 pages in length), with citations to the record, shall accompany the memorandum
                in opposition. All material facts set forth by the moving party shall be deemed
                admitted unless controverted by a separate Statement of Disputed Facts.

         (d)    Pursuant to Rule 56(c), Fed.R.Civ.P., as interpreted by the Eleventh Circuit Court
                of Appeals, the parties are hereby put on notice that the Court will take any motion
                for summary judgment and all materials in support or in opposition thereto under
                advisement as of the last day of filing pleadings pertaining to the motion for
                summary judgment, as that date is mandated by the rules of procedure or by order
                of the Court. Failure to respond to a motion for summary judgment shall indicate
                there is no opposition to the motion and may result in final judgment being entered
                without a trial or other proceeding.

         (e)    Motions to extend time or to alter any requirements set forth in this order or the
                other rules governing summary judgment motions, including the page limit for
                memoranda of law pursuant to the Local Rules, are disfavored.

         (f)    Oral argument or hearings will generally not be held on the motion.

         (g)    A violation of any of these directives will result in the Court sua sponte striking a
                party’s motion for summary judgment and incorporated memorandum of law
                without notice.

 8.   For jury trials, not later than seven (7) days prior to the date on which the trial term is set to
      commence, the parties shall file with the Clerk of Court, the following:


        (a)    A complete set of all written Proposed Jury Instructions (which shall bear a cover
               sheet with the complete style of the case and appropriate heading designating the
               submitting party; there shall be no more than on instruction per page and contain,
               at the end of each such instruction, citation of authorities, if any); they shall be
               sequentially numbered and party-identified (e.g., Plaintiff's Requested Instruction
               No. 1). Counsel must email proposed jury instructions and verdict forms in
               Microsoft Word (.doc or .docx) or WordPerfect (.wpd) format to the chambers
               inbox without titles above each instruction or citations of authorities at the end of
               each instruction. Include the case number and case name in the subject line; and

         (b)   Proposed Verdict Form
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 9.    The court conducts the initial voir dire examination. Counsel will have an opportunity to
       conduct follow-up.

 10.   After the conclusion of the bench trial, the court will direct counsel for each party to file
       proposed findings of fact and conclusions of law (usually 30 days after the trial). The proposed
       findings of fact and conclusions of law must be emailed to the chambers inbox in Microsoft
       Word (.doc or .docx) or WordPerfect (.wpd) format.


 DONE AND ORDERED in Tampa, Florida, on July 28, 2021.
